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                             Exhibit F
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                             MISSISSIPPI STATE MEDICAL EXAMINERS OFFICE
                                   1700 E. WOODROW WILSON AVENUE
                                           JACKSON, MS 39216


         CASE: SME10.Q908
         County: BOLIVAR

                                               AUTOPSY REPORT

         NAME OF DECEDENT: WILLIAMS, JERMAINE                        RACE: B          SEX: MAGE: 30

         LOCATION OF DEATH:                   703 East Cross Street, Cleveland, MS.

         DATE AND TIME OF DEATH:              JUly 23,2010, at 4:30 p.m.

         DATE AND TIME OF AUTOPSY:            July 23,2010, at 12:00 p.m.

         FORENSIC PATHOLOGIST:                Amy C. Gruszecki, DO


                                        FINAL ANATOMIC DIAGNOSES

                 I.     History of shock with taser during police chase.

                        A.     Puncture site identified on back.
                        B.     Subcutaneous hemorrhage underlying one puncture site.

                 II.    Subcutaneous hemorrhage on upper back (not underlying puncture site).

                 III.   Toxicology - blood positive for cocaine and metabolites


                 CAUSE OF DEATH:                      Toxic effects of cocaine in association with shocks
                                                      with laser during police chase.

                 MANNER OF DEATH:                     Homicide




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                                                                           copy of the records on file at the Office of the
                                                                           Medical Examiner, Jackson, MS.
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 AUTHORIZATION:

 This autopsy is performed at the request of the coroner of Bolivar County, Mississippi.


                                    EXTERNAL EXAMINATION

 The body is identified by a tag attached to the right ankle. Photographs, fingerprints, and palm
 prints are taken.

 The body is received nude. No personal effects or jewelry is received with the deceased.

 GENERAL: The unembalmed, well-preserved body is that of a black male that appears the
 reported age of 30 years. The body is 70 inches in length and weighs 160 pounds. Rigor
 mortis has developed and is broken with difficulty. Fixed purple Iivor mortis covers the posterior
 aspect of the body. The body is cool to the touch and has been refrigerated.

 HEAD AND NECK: The scalp is covered by black hair. The sclerae are free of icterus and
 injection. The irides are brown. The conjunctivae are pink and free of petechiae. The earlobes
 do not appear to be pierced. The nares are patent. The teeth are natural and with one yellow
 metal cap. The frenula are intact. No fracture is palpable in the zygomatic arches. The
 deceased has a moustache and a beard. The neck is appropriately mobile.

 CHEST:      The chest is free of scar.

 ABDOMEN:       The taut abdomen is free of scar.

 GENITALIA: The penis appears circumcised. Both testes are descended.

 BACK:          The back and anus are free of scar.

 ARMS:         The arms are free of scar and needle track. No fracture is palpable in the long
 bones. Five digits are on each hand. The nails are varying lengths. Neither tissue nor fabric is
 evident beneath the nails. .

 LEGS:          The legs are free of scar and edema. No fracture is palpable in the long bones.
 Five toes are on each foot.

 IDENTIFYING MARKS AND SCARS:                    Tattoos are on the right and left upper shoulders.
 A circular 1 inch scar is over the left knee. An oval 3/4 inch scar is on the posterior aspect of
 the left knee.

 EVIDENCE OF TREATMENT:                 A Foley catheter is within the urethra and contains
 approximately 10 ml of urine. Intravenous line is within the left neck. Two metal radiograph
 markers are on the chest and two are on the back. Focal petechial hemorrhage is present at
 the base of the lungs. Hemorrhage is near the hilum of the left lung. Petechial hemorrhage is
 present at the margin of the heart consistent with resuscitation.




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 EVIDENCE OF INJURY:           An abrasion measuring 1 inch is on the right side of the forehead.
 Underlying this is subgaleal hemorrhage. A small subgaleal hemorrhage measuring 1/2 inch is
 on the dorsal aspect of the scalp.

 Areas of abrasions are over the knuckles of the right and left hands and dorsal right wrist
 ranging in size from 1/8 inch to 3/4 inch. A puncture site is in the right lower quadrant of the
 abdomen measuring 1/8 inch. A puncture site is within the left side of the chest measuring
 1/8 inch. Two puncture sites measuring 1/8 inch and 3/16 inch are on the back. Subcutaneous
 hemorrhage measuring 2 inches x 1/2 inch underlies the lower of these on the back. Areas of
 abrasion cover the left and right knee ranging in size from 1 inch to 2 inches with denuded skin.

 Subcutaneous back skin dissection reveals a second area of hemorrhage measuring
 1-1/2 inches x 2 inches which does not appear to underlie a puncture site.

 Posterior neck dissection does not reveal any hemorrhage or other evidence of injury.


                                   INTERNAL EXAMINATION

 BODY CAVITIES: The thoracic and abdominal organs are in their normal anatomic positions.
 The body cavities contain no adhesions or abnormal collections of fluid.

 HEAD: See "Evidence of Injury". The brain weighs 1380 grams. The skull is unremarkable.
 The dura and dural sinuses are unremarkable. There are no epidural, subdural or subarachnoid
 hemorrhages. The leptomeninges are thin and delicate. The cerebral hemispheres are
 symmetrical. with an unremarkable gyral pattem. The cranial nerves and blood vessels are
 unremarkable. Sections through the cerebral hemispheres. brainstem, and cerebellum are
 unremarkable. No hemorrhages are visible within the deep white matter or the basal ganglia.
 The cerebral ventricles contain no blood. The spinal cord as viewed from the cranial cavity is
 unremarkable.

 NECK: The soft tissues and prevertebral fascia are unremarkable. The hyoid bone and
 laryngeal cartilages are intact. The lumen of the larynx is not obstructed. The tongue is free of
 laceration and contusion.

 CARDIOVASCULAR SYSTEM: See "Evidence of Treatment". The heart weighs 340 grams.
 The intimal surface of the abdominal aorta is free of significant atherosclerosis. The aorta and
 its major branches and the great veins are normally distributed and unremarkable. The
 pulmonary arteries contain no thromboemboli. The pericardium. epicardium, and endocardium
 are smooth, glistening, and unremarkable. The endocardium is free of mural thrombi. The
 foramen ovale is closed. The coronary arterial system is free of significant atherosclerosis. The
 atrial and ventricular septa are intact. The cardiac valves are unremarkable. The myocardium
 is dark red-brown and firm, without focal abnormalities.

 RESPIRATORY SYSTEM: See "Evidence of Treatment". The right lung weighs 700 grams,
 and the left lung weighs 640 grams. The upper airway is not obstructed. The laryngeal mucosa
 is smooth and unremarkable, without petechiae. The pleural surfaces are smooth and
 glistening. The major bronchi are unremarkable. Sectioning of the lungs discloses a dark red-
 blue, moderately congested parenchyma.




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         HEPATOBILIARY SYSTEM: The liver weighs 1860 grams. The liver is covered by a smooth,
         glistening capsule. The parenchyma is dark red-brown and moderately congested. The
         gallbladder contains approximately 4 ml of dark green bile, with no calcuii.

         GASTROINTESTINAL SYSTEM: The esophageal mucosa is gray, smooth, and
         unremarkable. The stomach is empty. There are no tablets or capsules. The gastric mucosa
         has normal rugal folds, and there are no ulcers. The small and large intestines are
         unremarkable externally. The appendix is present. The pancreas is unremarkable externally
         and upon sectioning.

         GENITOURINARY SYSTEM: The right kidney weighs 220 grams, and the left kidney weighs
         240 grams. The capsules of both kidneys strip with ease to reveal smooth and slightly lobulated
         surfaces. The cortices are of normal thickness, with well-demarcated cortico-medullary
         junctions. The calyces, pelves, and ureters are unremarkable. The urinary bladder is empty.
         The mucosa is gray, smooth, and unremarkable.

         The prostate gland and testes are unremarkable both externally and upon sectioning.

         ENDOCRINE SYSTEM:           The thyroid and adrenal glands are unremarkable externally and
         upon sectioning.

         LYMPHORETICULAR SYSTEM: The spleen weighs 160 grams. The spleen is covered by a
         smooth, blue-gray, intact capsule. The parenchyma is dark red. The cervical, hilar, and
         peritoneal lymph nodes are not enlarged.

         MUSCULOSKELETAL SYSTEM: The clavicles, ribs, sternum, pelvis, and vertebral column
         have no fractures. The diaphragm is intact.

         MICROSCOPIC EXAMINATION:

         Sections of liver, kidney, heart, right and left lungs, and brain show no significant
         histopathological abnormalities.

         TOXICOLOGY: Please see separate toxicology report.


                                                SUMMARY OF CASE

         Based upon the autopsy findings and the history available to me, it is my opinion that Jermaine
         Williams, a 30-year-old black male, died as the result of toxic effects of cocaine in association
         with shocks with taser during police chase. The manner of death is homicide.



         "Electronically signed by Amy C. Gruszeclri. D.O. on Thursday, November 04, 2010"

         Amy C. Gruszecki, DO
         Forensic Pathologist

         ACG/ac
         T: 07130/2010




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